                  Case 1-23-41570-ess                     Doc 26           Filed 08/12/23             Entered 08/13/23 00:10:21


                                                              United States Bankruptcy Court
                                                               Eastern District of New York
In re:                                                                                                                 Case No. 23-41570-ess
Ibrahim Nabie                                                                                                          Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 10, 2023                                               Form ID: 227                                                               Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 12, 2023:
Recip ID                 Recipient Name and Address
db                     + Ibrahim Nabie, 123 Roe St, Staten Island, NY 10310-2306
10208543                 Triborough Bridge and Tunnel Authority, TBTA Toll Group, 2 Broadway, 24th Floor, New York, NY 10004-3357
10214430               + U.S. Bank National Association, c/o Sheldon May & Associates, PC, 255 Merrick Road, Rockville Centre, NY 11570-5211

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                        Aug 10 2023 18:14:00      Office of the United States Trustee, Eastern
                                                                                                                  District of NY (Brooklyn), Alexander Hamilton
                                                                                                                  Custom House, One Bowling Green, Room 510,
                                                                                                                  New York, NY 10004-1415
10214886                  Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Aug 10 2023 18:23:26      LVNV Funding, LLC c/o Resurgent Capital
                                                                                                                  Services, PO Box 10587, Greenville, SC
                                                                                                                  29603-0587
10213334                  Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Aug 10 2023 18:23:27      Pinnacle Credit Services, LLC, Resurgent Capital
                                                                                                                  Services, PO Box 10587, Greenville, SC
                                                                                                                  29603-0587
10188409               + Email/Text: flyersprod.inbound@axisai.com
                                                                                        Aug 10 2023 18:14:00      Rushmore Loan Management Services LLC,
                                                                                                                  15480 Laguna Canyon Road. Suite 100, Irvine.
                                                                                                                  CA 92618-2132
10210854                  EDI: AIS.COM
                                                                                        Aug 10 2023 22:12:00      Verizon, by American InfoSource as agent, PO
                                                                                                                  Box 4457, Houston, TX 77210-4457

TOTAL: 5


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 12, 2023                                            Signature:           /s/Gustava Winters
                   Case 1-23-41570-ess                     Doc 26        Filed 08/12/23           Entered 08/13/23 00:10:21


District/off: 0207-1                                                 User: admin                                                         Page 2 of 2
Date Rcvd: Aug 10, 2023                                              Form ID: 227                                                       Total Noticed: 8



                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 10, 2023 at the address(es) listed
below:
Name                                  Email Address
Krista M Preuss
                                      info@ch13edny.com mderosa13@ecf.epiqsystems.com

Krista M Preuss
                                      on behalf of Trustee Krista M Preuss info@ch13edny.com mderosa13@ecf.epiqsystems.com

Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov


TOTAL: 3
                       Case 1-23-41570-ess                     Doc 26   Filed 08/12/23             Entered 08/13/23 00:10:21


 Information to identify the case:

 Debtor 1:
                        Ibrahim Nabie                                       Social Security number or ITIN:   xxx−xx−0406
                                                                            EIN: _ _−_ _ _ _ _ _ _
                        First Name   Middle Name   Last Name

 Debtor 2:                                                                  Social Security number or ITIN: _ _ _ _
                        First Name   Middle Name   Last Name
 (Spouse, if filing)                                                        EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:         Eastern District of New York        Date case filed for chapter:      13     5/4/23

 Case number:            1−23−41570−ess


                                                   NOTICE OF DISMISSAL OF CASE
NOTICE IS HEREBY GIVEN THAT:

The above−named debtor(s) having filed a Chapter 13 petition in bankruptcy on May 4, 2023, and an order having
been signed by the Honorable Elizabeth S. Stong , United States Bankruptcy Judge, on August 9, 2023 for the
dismissal of said petition.

You are notified that the petition of the above−named debtor(s) has been dismissed.

Notice is further given that if there are any outstanding filing fees due, they must be paid in full to the Clerk of Court
upon receipt of this notice.

 Dated: August 10, 2023


                                                                         For the Court, Robert A. Gavin, Jr., Clerk of Court




BLnod.jsp [Notice of Dismissal rev. 03/07/17]
